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 Fill in this information to identify the case:

 Debtor name         GL Brands, Inc.

 United States Bankruptcy Court for the: NORTHERN DISTRICT OF TEXAS

 Case number Of known)
                                                                                                                                       1:1 Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor's name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

      0 None.

       Identify the beginning and ending dates of the debtor's fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                   • Operating a business                                            $0.00
       From 1/01/2020 to Filing Date
                                                                                               0 Other



       For prior year:                                                                         • Operating a business                                    $7,800.00
       From 1/01/2019 to 12/31/2019
                                                                                               0 Other



       For year before that:                                                                   • Operating a business                                    $1,616.17
       From 1/01/2018 to 12/31/2018
                                                                                               D Other

2.   Non-business revenue
     Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
     and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.


      • None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

Part 2:       List Certain Transfers Made Before Filing for Bankruptcy

3    Certain payments or transfers to creditors within 90 days before filing this case
     List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
     filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
     and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      0 None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.1
              SEE LIST OF CREDITORS PAID                                                                           $0.00         0 Secured debt
                                                                                                                                 O Unsecured loan repayments
                                                                                                                                 O Suppliers or vendors
                                                                                                                                 O Services
                                                                                                                                 0 Other



4    Payments or other transfers of property made within 1 year before filing this case that benefited any insider
     List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
     or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
     may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
     listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
     debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

      0 None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.   SEE ATTACHED LIST OF INSIDER                                                                         $0.00
              PAYMENTS


5.   Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
     a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.


      • None

       Creditor's name and address                              Describe of the Property                                       Date                     Value of property


6    Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
     of the debtor without permission or refused to make a payment at the debtor's direction from an account of the debtor because the debtor owed a
     debt.

      • None

       Creditor's name and address                              Description of the action creditor took                        Date action was                    Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
    List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
    in any capacity—within 1 year before filing this case.

      0 None.

               Case title                                        Nature of case            Court or agency's name and                 Status of case
               Case number                                                                 address
       7.1.    Emily Laue v. GL Brands                          Employment                 Oregon                                     O Pending
                                                                Action - Settled -                                                    0 On appeal
                                                                Paid $18,000                                                          •    Concluded


       7.2.    Richard Bolandz v. GL                            Wrongful                   Nevada                                     O Pending
               Brands                                           Termination -                                                         O On appeal
                                                                settled with                                                          • Concluded
                                                                $60,000 in stock


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
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     receiver, custodian, or other court-appointed officer within 1 year before filing this case.

       • None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
    the gifts to that recipient is less than $1,000

      • None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                       Value


 Part 5:      Certain Losses

10 All losses from fire, theft, or other casualty within 1 year before filing this case.

      • None

       Description of the property lost and                      Amount of payments received for the loss                  Dates of loss        Value of property
       how the loss occurred                                                                                                                                 lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets— Real and Personal Property),

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

      0 None.

                Who was paid or who received                         If not money, describe any property transferred           Dates             Total amount or
                the transfer?                                                                                                                             value
                Address
       11. 1. The Texas Wellness Center,
                LLC                                                                                                            11/2020 -
                PO Box 470458                                                                                                  $31,717
                3101 West 6th Street                                                                                           12/2020 -
                Fort Worth, TX 76147-9998                            Retainer                                                  $6,868                $38,885.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

      • None.

       Name of trust or device                                       Describe any property transferred                   Dates transfers         Total amount or
                                                                                                                         were made                        value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
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    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

      • None.

               Who received transfer?                           Description of property transferred or                   Date transfer            Total amount or
               Address                                          payments received or debts paid in exchange              was made                          value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


      0 Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To
       14.1.    3939 Belt Line Road, Suite 350                                                                             2018-2020
                Addison, TX 75001

       14.2.    3571 Sunset Road, Suite 420                                                                                2013 - 2018
                Las Vegas, NV 89120

Part 8:        Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?


      •     No. Go to Part 9.
      O     Yes. Fill in the information below.


                Facility name and address                       Nature of the business operation, including type of services             If debtor provides meals
                                                                the debtor provides                                                      and housing, number of
                                                                                                                                         patients in debtor's care

Part 9:        Personally Identifiable Information

16 Does the debtor collect and retain personally identifiable information of customers?

      •     No,
      O     Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?


      •     No. Go to Part 10.
      O     Yes. Does the debtor serve as plan administrator?


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor's name, or for the debtor's benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.


      • None
            Financial Institution name and                      Last 4 digits of          Type of account or           Date account was              Last balance
            Address                                             account number            instrument                   closed, sold,             before closing or
                                                                                                                       moved, or                          transfer
                                                                                                                       transferred


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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.



      • None

       Depository institution name and address                       Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?
                                                                     Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.



      • None

       Facility name and address                                     Names of anyone with                 Description of the contents          Do you still
                                                                     access to it                                                              have it?


Part Ii:      Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

    • None


Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


      •     No.
      CI    Yes. Provide details below.

       Case title                                                    Court or agency name and             Nature of the case                   Status of case
       Case number                                                   address

23 Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
   environmental law?

      •     No.
      1:1 Yes, Provide details below.

       Site name and address                                         Governmental unit name and               Environmental law, if known      Date of notice
                                                                     address

24. Has the debtor notified any governmental unit of any release of hazardous material?


      •     No,
      ID Yes. Provide details below.


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       Site name and address                                         Governmental unit name and                Environmental law, if known              Date of notice
                                                                     address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

      • None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or !TIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor's books and records within 2 years before filing this case.
            None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Brian Moon                                                                                                                 2019-2020
                    PO Box 470458
                    3101 West 6th Street
                    Fort Worth, TX 76147-9998

       26a.2.       Larry Rhue                                                                                                                 2017-2019
                    5363 Woodfield Drive
                    Las Vegas, NV 89142

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor's books of account and records or prepared a financial statement
         within 2 years before filing this case.

           • None


    26c. List all firms or individuals who were in possession of the debtor's books of account and records when this case is filed.


           • None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

          1:1 None

       Name and address
       26d.1.       Merida Capital Management
                    641 Lexington Ave., 18th Floor
                    New York, NY 10022

27. Inventories
    Have any inventories of the debtor's property been taken within 2 years before filing this case?

      •     No
      O     Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28 List the debtor's officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
   in control of the debtor at the time of the filing of this case.

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       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Cede & Co. (Depository                                                                              Shareholder - 103,403,194           17.29%
       Trust)                                                                                              shares

       Name                                            Address                                             Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Carlos Frias                                   1609 Raton Drive                                     Shareholder - 95,302,468            15.94%
                                                      Arlington, TX 76018                                  shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Alexandro Frias                                14503 Islip Circle                                   Shareholder - 65,529,180            10.96%
                                                      Apt. 12107                                           shares
                                                      Fort Worth, TX 76155
       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Christopher Fagan                              3301 Indian Trail                                    Shareholder - 22,987,654            3.84%
                                                      Worcester, MA                                        shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Brian D. Moon                                  2017 Hillcrest Street                                Shareholder - 2,000,000
                                                      Fort Worth, TX 76107                                 shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       David E. Vautrin                               7 Alienta Lane                                       Shareholder - 1,041,262             0.17%
                                                      Suite B-921                                          shares
                                                      Rancho Mission Viejo, CA 92994
       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Bemeir LLC                                     159 20th Street                                      Shareholder - 2,314,286
                                                      Suite 1B                                             shares
                                                      Brooklyn, NY 11232
       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Adam Cabibi                                    4310 Hammerstone Court                               Shareholder - 2,081,250
                                                      Norcross, GA 30092                                   shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Carter, Terry & Company,                       3060 Peachtree Road                                  Shareholder - 543,750 shares
       Inc.                                           Suite 1200
                                                      Atlanta, GA 30305
       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Alexandra Woodson                              238 N. 3rd Street                                    Shareholder - 15,956 shares         0.00%
                                                      Jefferson, OR 97352

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Allen Bennett                                  4970 SW 8th Street                                   Shareholder - 30,000 shares         0.01%
                                                      Pompano Beach, FL 33068

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Allen F. St. Pierre                            1161 Main Street                                     Shareholder - 5,000,000             0.84%
                                                      Chatham, MA 02633                                    shares




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       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Alyssa Buckley                                 7702 Shadyglade Lane                                 Shareholder - 16,000 shares        0.00%
                                                      San Diego, CA 92114

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Andy Kim                                       18515 N. Gateway                                     Shareholder - 16,000 shares        0.00%
                                                      Beaverton, OR 97006

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Anthony Catalano                               1702 Andre Isle                                      Shareholder - 194,000 shares       0.03%
                                                      Apt. F-2
                                                      Pompano Beach, FL 33066
       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Ben Nickoll                                    9 Gunn Hill Rd.                                      Shareholder - 1,250,000            0.21%
                                                      New Preston, CT 06777                                shares

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Breadfruit Tree Inc.                           3071 NW 107th Avenue                                 Shareholder - 1,000,000            0.17%
                                                      Miami, FL 33172                                      shares

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Bruce Burwick                                  10726 Whitewind Circle                               Shareholder -416,667 shares        0.07%
                                                      Boynton Beach, FL 33473

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Bruce J. Perlowin                              8174 Las Vegas Blvd. South                           Shareholder - 100,000 share        0.02%
                                                      Las Vegas, NV 89123

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Cara Ryan Hartfield                            2175 Palmer Place                                    Shareholder - 1,000,000            0.17%
                                                      Tustin, CA 92782                                     shares

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Carlson Family, LLC                            2103 Sunrise Blvd.                                   Shareholder - 180,000 shares       0.03%
                                                      Fort Pierce, FL 34950

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Carol Ann Bass                                 2124 Plaza Del Dios                                  Shareholder - 50,000 shares        0.01%
                                                      Las Vegas, NV 89102

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Carolina Herrero                               2521 Regent St. #19                                  Shareholder - 5,000 shares         0.00%
                                                      Berkeley, CA 94704

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Chris Thompson                                 75 N. Valle Verde Dr.                                Shareholder - 20,834 shares        0.00%
                                                      Henderson, NV 89074




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       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Christine Armstrong                            9 Gunn Hill Rd.                                     Shareholder - 833,333 shares       0.14%
                                                      New Preston, CT 06777

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Christopher Goldstein                         40 Gaffney Lane                                      Shareholder - 200,000 shares       0.03%
                                                     Willingboro, NJ 08046

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Christopher Thompson                          3900 E. Sunset Road                                  Shareholder - 10,000 shares        0.00%
                                                     apt. 2102
                                                     Las Vegas, NV 89120
       Name                                          Address                                              Position and nature of any         (Y. of interest, if
                                                                                                          interest                           any
       Clifford Perry                                3571 E. Sunset Road                                  Shareholder - 80,074,730           13.35%
                                                     Suite 420                                            shares
                                                     Las Vegas, NV 89120
       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Clifford T.A. Perry                           512 Pennsylvania                                     Shareholder - 1,000,000            0.17%
                                                     National Park, NJ 08063                              shares

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Daniel Kokin                                  111 Minna St.                                        Shareholder - 40,000 shares        0.01%
                                                     San Francisco, CA 94105

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Dave Patterson                                10745 SW 72nd Ave.                                   Shareholder - 833,333 shares       0.14%
                                                     Miami, FL 33156

       Name                                          Address                                              Position and nature of any         `)/0 of interest, if
                                                                                                          interest                           any
       David Goldburg                                666 West End Ave. 7RS                                Shareholder - 1,176,622            0.15%
                                                     New York, NY 10025                                   shares

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       David Johnson Barton                          2011 Scowers Court                                   Shareholder - 50,000 shares        0.01%
                                                     El Dorado Hills, CA 95762

       Name                                          Address                                              Position and nature of any         °A of interest, if
                                                                                                          interest                           any
       David Kotler                                   54 SW Boca Raton Rd.                                Shareholder - 50,000 shares        0.01%
                                                      Boca Raton, FL 33432

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Destiny McColley                              10625 N. Battleford Dr.                              Shareholder - 20,000 shares        0.00%
                                                     Casa Grande, AZ 85122

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Dorothy L. Herbst 401K                        3571 E. Sunset Road                                  Shareholder - 312,500 shares       0.05%
       Trust                                         Suite 206
                                                     Las Vegas, NV 89120




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       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Douglas John Montgomery                        215 Melliff Dr.                                     Shareholder - 160,000 shares       0.03%
                                                      San Antonio, TX 78216

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Elaine Trachtenberg                            7364 Mandarin Dr.                                   Shareholder - 10,000 shares        0.00%
                                                      Boca Raton, FL 33433

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Emily Laue                                    12005 SW Sussex St                                   Shareholder - 16,000 shares        0.00%
                                                      Beaverton, OR 97008

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Enrique Sempere                                Juan De La Cosa 0015 Crer                           Shareholder - 87,807 shares        0.01%
                                                      Alicante, Elche Spain

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Federico Pano Huertas                          Partida Alzavares Alto 301                          Shareholder - 5,000,000            0.84%
                                                      Elche, Spain 03290                                  shares

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Felipe Menezes                                 7800 NW 40th St                                     Shareholder - 2,000,000            0.33%
                                                      Pompano Beach, FL 33065                             shares

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Frank Dobrucki                                3571 E. Sunset Rd.                                   Shareholder - 250,000 shares       0.04%
                                                     Suite 102
                                                     Las Vegas, NV 89120
       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Freedom Leaf Iberia VB                        Attn: Ederico Pando Huertas                          Shareholder - 3,956,588            0.66%
                                                     Groot Heiligland                                     shares
                                                     3, Haarlem, NL
       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Freedom Leaf Netherlands                      Koninginnewg 18                                      Shareholder - 889,868 shares       0.15%
       BV                                            Amsterdam, 1075 CP, NL

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Garren Doremus                                939 61st Street #9                                   Shareholder - 16,000 shares        0.00%
                                                      Emeryville, CA 94608

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Garrett Wood                                  3820 Sawtelle Blvd.                                  Shareholder - 16,000 shares        0.00%
                                                     Los Angeles, CA 90066

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Global links Corp                             3571 East Sunset Rd.                                 Shareholder - 500,000 shares       0.08%
                                                     Suite 102
                                                     Las Vegas, NV 89120




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 Debtor       GL Brands, Inc.                                                                            Case number Of known)



        Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Greg A. Montgomery                             1119 Saratoga Dr.                                    Shareholder - 80,000 shares        0.01%
                                                      Saint Charles, MO 63303

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Hahn Huynh                                     4109 Balfour Ave.                                    Shareholder - 270,000 shares       0.05%
                                                      Oakland, CA 94610

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Nana Rose Hartfield                            41 Discovery Lane                                    Shareholder - 999,996 shares       0.17%
                                                      Irvine, CA 92618

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Harold Judd                                    6794 W. Canterbury Lane                              Shareholder - 300,000 shares       0.05%
                                                      American Fork, UT 84003

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Hilary A. Dulany                               2122 Glenn St.                                       Shareholder - 496,667 shares       0.08%
                                                      Lansing, MI 48906

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Jared Baker                                    306 Barcelona Ct.                                    Shareholder - 30,000 shares        0.01%
                                                      Boulder City, NV 89005

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Jeannine Crawley                               13692 Gavina Ave. #360                               Shareholder - 50,000 shares        0.01%
                                                      Sylmar, CA 91342

       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       Jeffrey Lim                                    4109 Balfour Ave.                                   Sharehiolder - 400,000 shares       0.07%
                                                      Oakland, CA 94610

       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Jeffrey Paris Reese                            Leslie Diane Reese JTWROS                           Shareholder - 1,000,000             0.17%
                                                      330 East Robindale                                  shares
                                                      Las Vegas, NV 89123
       Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                           interest                           any
       Jessica Velazquez                              3571 E. Sunset Rd.                                  Shareholder - 36,350 shares         0.01%
                                                      Suite 206
                                                      c/o Indiva Advisors LLC
                                                      Las Vegas, NV 89120
       Name                                           Address                                             Position and nature of any          % of interest, if
                                                                                                          interest                            any
       JM-1OFFF, LLC                                  16 Brook St                                         Shareholder - 3,333,334             0.56%
                                                      Natick, MA 01760                                    shares

       Name                                           Address                                             Position and nature of any          ')/. of interest, if
                                                                                                          interest                            any
       John Kalkanian Jr.                            17 Hollyleaf                                         Shareholder - 250,000 shares        0.04%
                                                     Aliso Viejo, CA 92656




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        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
        John O'Leary                                   6638 Villa Sonrisa Dr.                               Shareholder - 20,000 shares         0.00%
                                                       Apt. 613
                                                       Boca Raton, FL 33433
        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Jose Antonio Sanchez                            Calle Del Abad Juan Catalan #12                      Shareholder - 2,000,000            0.33%
       Abad                                            Apt. 2C                                              shares
                                                       Madrid, Spain 28032
        Name                                           Address                                              Position and nature of any         °./. of interest, if
                                                                                                            interest                           any
       Joseph P. Moung                                 3654 San Marco Dr.                                   Shareholder - 200,000 shares       0.03%
                                                       Stockton, CA 95212

        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Joseph W. Abrams &                              Patricia G. Abrams Family Trust                      Shareholder -312,500 shares        0.05%
                                                       131 Laurel Grove Ave.
                                                       Greenbrae, CA 94904
       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       JRKH Investments LLC                            1266 W. Bateman Ponds Way                            Shareholder - 54,945 shares        0.01%
                                                       Attn: Jerome Romero
                                                       West Jordan, UT 84084
       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Kahn Family Limited PT II                      1194 Hillsboro Mile, Unite 1                          Shareholder - 4,604,444            0.77%
                                                      Pompano Beach, FL 33062                               shares

       Name                                           Address                                               Position and nature of any         0/0 of interest, if

                                                                                                            interest                           any
       Karen Lane                                     3040 Udall Street                                    Shareholder - 2,930,930             0.49%
                                                      San Diego, CA 92106                                  shares

       Name                                           Address                                               Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Kiera Coughlan                                 71 Grattan Park                                      Shareholder - 5,000 shares          0.00%
                                                      Galway, Salthill, El

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Kin Jung                                       1369 Contra Costa Dr.                                Shareholder - 40,000 shares         0.01%
                                                      El Cerrito, CA 94530

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       KSW Group LLC                                  1914 E. 9400 St.                                     Shareholder -450,000 shares         0.08%
                                                      Suite 319
                                                      Mgr: Stephen Bullough
                                                      Sandy, UT 84093
       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Larry Jacobson                                 4 Admiral Drive #434                                 Shareholder - 5,000 shares          0.00%
                                                      Emeryville, CA 94608

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Laurence Ruhe                                  5963 Woodfield Drive                                 Shareholder - 133,085 shares        0.02%
                                                      Las Vegas, NV 89142



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        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
        Leigh Ann Langford                             586 Athol Ave.                                       Shareholder - 15,000,000           2.51%
                                                       Oakland, CA 94606                                    shares

        Name                                           Address                                              Position and nature of any         17/0 of interest, if

                                                                                                            interest                           any
        Lesley James Montgomery                        8217 Gorskey Ave.                                    Shareholder - 160,000 shares       0.03%
                                                       Las Vegas, NV 89131

        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Lillian Taylor Stajnbaher                       4115 NW 88th Ave.                                    Shareholder -50,000 shares         0.01%
                                                       Hollywood, FL 33020

        Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Louis Yovino                                    2681 W. McNab Rd.                                    Shareholder - 226,881 shares       0.04%
                                                       Pompano Beach, FL 33069

       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Luis Pando Huertas                              Calle Lagasca #52                                    Shareholder - 1,000,000            0.17%
                                                       Apt. 3D                                              shares
                                                       Madrid, Spain 28001
       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Luke Kenney                                     3424 Vintage Dr. #249                                Shareholder - 16,000 shares        0.00%
                                                       Modesto, CA 95356

       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Marc Hatch                                      3811 SE Hans Nagel Rd.                               Shareholder -100,000 shares        0.02%
                                                       Washougal, WA 98671

       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Marc Vitorillo                                  8203 Dunham Station Dr.                             Shareholder - 500,000 shares        0.08%
                                                       Tampa, FL 33647

       Name                                            Address                                              Position and nature of any         % of interest, if
                                                                                                            interest                           any
       Marianne Luzzo                                  352 Via De Pellegrini                               Shareholder -79,425 shares          0.01%
                                                       Henderson, NV 89011

       Name                                            Address                                             Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Mario Louis Sylvester Lap                       Groot Heiligland 3                                  Shareholder - 1,999,992             0.33%
                                                       Haarlem, 2011 En, NL                                shares

       Name                                            Address                                             Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Mark B. Newbauer                               3918 E. Cat Calue Dr.                                Shareholder -37,392 shares          0.01%
                                                      Phoenix, AZ 85050

       Name                                            Address                                             Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Mark Randall Lansky                            6694 Portside Dr.                                    Shareholder - 10,000 shares         0.00%
       Revocable Trust                                Boca Raton, FL 33496




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       Name                                           Address                                              Position and nature of any           % of interest, if
                                                                                                           interest                             any
       Mark Rosales                                   2343 Brittan Ave.                                   Shareholder - 1,000,000               0.17%
                                                      San Carlos, CA 94070                                shares

       Name                                           Address                                              Position and nature of any           % of interest, if
                                                                                                           interest                             any
       Matthew Bartlett                               329 Haydon St.                                      Shareholder - 500,000 shares          0.08%
                                                      Healdsburg, CA 95448

       Name                                           Address                                              Position and nature of any           % of interest, if
                                                                                                           interest                             any
       Merida Advisor, LLC                           641 Lexington Ave.                                   Shareholder - 6,250,000               1.05%
                                                     18th Floor                                           shares
                                                     cio David Goldburg
                                                     New York, NY 10022
       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Merida Capital Partners ll                     641 Lexington Ave. 18th Floor                       Sharehiolder - 17,000,000             2.84%
       LP                                             New York, NY 10022                                  shares

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Ngoc Quang "Daniel"                           10107 Wittenburg Way                                 Shareholder - 83,181,256              13.91%
       Nguyen                                        Cocoa Beach, FL 32932                                shares

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nicholas Shi                                  15480 Dallas Pkwy                                    Shareholder - 214,286 shares          0.04%
                                                     Apt. 3061
                                                     Dallas, TX 75248
       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Nuaxon Bioscience, Inc.                        247 South Franklin St.                              Shareholder 124,179 shares
                                                                                                                           -                    0.02%
                                                      Bloomfield, IN 47424

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pacificcom Corp                               416 Fleetwood Place                                  Shareholder      -   200,000 shares   0.03%
                                                     Attn: Michael Asghari
                                                     Glendora, CA 91740
       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Paul F. Pelosi, Jr.                           2269 Chestnut Street                                 Shareholder - 11,841,890              1.98%
                                                     San Francisco, CA 94123                              shares

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       PB, LLC                                       2913 Eagle Lake Drive                                Shareholder      -   500,000 shares   0.08%
                                                     Pearland, TX 77581

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Pure Energy 714, LLC                          21 Ridge Road                                        Shareholder - 1,327,233               0.22%
                                                     Atlantic Highlands, NJ 07716                         shares

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Raymond Medeiros                              1865 Elderwood Drive                                 Shareholder - 7,449,228               1.25%
                                                     Concord, CA 94519                                    shares




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       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Reinier Peraza-Lezcano                        3703 Quaker Lake St.                                 Shareholder - 500,000 shares       0.08%
                                                     North Las Vegas, NV 89032

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Rene Velez                                    375 State St., Apt. 415                              Shareholder - 177,032 shares       0.03%
                                                     Perth Amboy, NJ 08861

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Rex Anthony Carroll                           3001 MoreII Drive                                    Shareholder - 472,727 shares       0.08%
                                                     Fort Wayne, IN 46809

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Richard A. Bolandz                            190 Webster Way                                      Shareholder - 281,855 shares       0.05%
                                                     Henderson, NV 89074

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Richard C. Cowan                              3858 Placita Del Lazo                                Shareholder - 14,758,143           2.47%
                                                     Las Vegas, NV 89120                                  shares

      Name                                           Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Richard Groberg                               1256 Panini Drive                                    Shareholder - 312,500 shares       0.05%
                                                     Henderson, NV 89052

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Richard Segerblom                             700 South Third Street                               Shareholder - 314,465 shares       0.05%
                                                     Las Vegas, NV 89101

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Ricky Potts                                   18 Smith Ranch Ct.                                   Shareholder -3,102,519             0.52%
                                                     San Rafael, CA                                       shares

       Name                                          Address                                              Position and nature of any         ')/. of interest, if
                                                                                                          interest                           any
       Robert Kahn                                   PO Box 549                                           Shareholder - 400,000 shares       0.07%
                                                     Pompano Beach, FL 33061

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Robert Melamede                               16 Lake Forest Dr.                                   Shareholder - 50,000 shares        0.01%
                                                     Burlington, VT 05401

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Rodrigo Chavez                                14031 Woodlawn Ave.                                  Shareholder -1,014,890             0.17%
                                                     Tustin, CA 92780                                     shares

       Name                                          Address                                              Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Ronald Dennis                                 28925 Dargan Street                                  Shareholder - 50,000 shares        0.01%
                                                     Agoura Hills, CA 91301




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       Name                                           Address                                              Position and nature of any        % of interest, if
                                                                                                           interest                          any
       Ronald Voight                                  4724 Mitchell St.                                    Shareholder - 255,000 shares      0.04%
                                                      Unite B
                                                      North Las Vegas, NV 89081
       Name                                           Address                                              Position and nature of any        % of interest, if
                                                                                                           interest                          any
       Ronni Rosenfeld                                2028 Guizot St.                                      Shareholder -888,169 shares       0.15%
                                                      San Diego, CA 92107

       Name                                           Address                                              Position and nature of any        % of interest, if
                                                                                                           interest                          any
       RSG Advisors, LLC                              1256 Panini Drive                                    Shareholder - 400,000 shares      0.07%
                                                      Henderson, NV 89052

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Silkia Ostrander                               9395 Roping Cowboy Ave.                             Shareholder -91,734 shares         0.02%
                                                      Las Vegas, NV 89178

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Smith Cove Capital                             200 Greenwich Ave., 3rd Floor                       Shareholder - 833,333 shares       0.14%
       Domestic Fund LP                               c/o Danny Kramer
                                                      Greenwich, CT 06830
       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Soaring Peak, LLC                              2829 Soaring Peak Ave.                              Shareholder - 160,333 shares       0.03%
                                                      Henderson, NV 89052

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Steve Bloom                                    500 W. 235th St, Apt. IN                            Shareholder - 282,192 shares       0.05%
                                                      Bronx, NY 10463

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Steve William Tuck                             503 Cantor                                          Shareholder - 2,000,000            0.33%
                                                      Irvine, CA 92612                                    shares

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Svetlana Ogorodnikova                          3104 E. Camelback Rd., 528                          Shareholder - 125,000 shares       0.02%
                                                      Phoenix, AZ 85016

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Terrence Revere Jr.                            17 Marian Court                                     Shareholder - 2,000,000            0.33%
                                                      Smithtown, NY 11787                                 shares

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       The Allan S. Kaplan                            7011 Mallorca Crescent                              Shareholder - 76,037 shares        0.01%
       Revocable Trust                                Boca Raton, FL 33433

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Thomas Sallai                                 1365 Grant Road                                      Shareholder - 50,000 shares        0.01%
                                                     Los Altos, CA 94024




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       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Trinidad Roman III                             2120 Ramrod Rd.                                      Shareholder - 50,000 shares         0.01%
                                                      Henderson, NV 89014

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Valencia Web Technology                        Calle Benimar 21 Bajo, Derecha                       Shareholder - 3,000,000             0.50%
       SL                                             Paterna (Valencia) 46980 Spain                       shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Vincent Moreno                                 1 McConkey Drive                                     Shareholder - 1,000,000             0.17%
                                                      Washington Crossing, PA 18977                        shares

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Vision Concepts                                6970 South Cottonwood St.                            Shareholder - 74,074 shares         0.01%
                                                      Midvale, UT 84047

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Warm Family Revocable                          3867 SW 93rd Terrace                                 Shareholder - 543,070 shares        0.09%
       Trust                                          Gainesville, FL 32608

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       William B. King                                9218 Avon Park Ave.                                  Shareholder - 17,857 shares         0.00%
                                                      Las Vegas, NV 89149

       Name                                           Address                                              Position and nature of any          % of interest, if
                                                                                                           interest                            any
       Zenovia Countee                                33035 Lake Erie St                                   Shareholder - 50,000 shares         0.01%
                                                      Fremont, CA 94555



29 Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
   control of the debtor, or shareholders in control of the debtor who no longer hold these positions?



      •       No
      ID Yes. Identify below.


30 Payments, distributions, or withdrawals credited or given to insiders
   Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
   loans, credits on loans, stock redemptions, and options exercised?

      ▪       No
      •       Yes. Identify below.

                Name and address of recipient                    Amount of money or description and value of              Dates            Reason for
                                                                 property                                                                  providing the value
       30.1     SEE ATTACHED LIST


                Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?



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      •     No
      0 Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

      •     No
      O     Yes. Identify below.

   Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                              corporation

Part 14:     Signature and Declaration

     WARNING — Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the'foregoing is true and correct.

Executed on          December 17, 2020-7

           f rias
/s/ Carlos F                                                            Carlos Frias
Signature orindiviclual signing on behalf of the debtor                 Printed name

Position or relationship to debtor          Chief Executive Officer

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
• No
0 Yes




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 18

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       Case 20-43800-elm11 Doc 4 Filed 12/17/20                                                                      Entered 12/17/20 16:50:48                                  Page 24 of 28


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